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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

IN RE: TESTOSTERONE            )                     Case No.: 1:14-cv-01748
REPLACEMENT THERAPY            )                     MDL NO. 2545
PRODUCTS LIABIILITY LITIGATION )                     JUDGE MATTHEW F. KENNELY

THIS DOCUMENT RELATES TO:
ARMANDO J. ROBERTO, JR. AND ELIZABETH E. ROBERTO, #1:15-cv-7085

                        AFFIDAVIT OF CYRUS F. RILEE, III, ESQ.


       I, Cyrus F. Rilee, III, Esq., being duly sworn, do hereby depose and state:

       1.      On December 13, 2015, the Plaintiffs timely and completely submitted a Plaintiff

Fact Sheet (“PFS”), blank medical authorizations, and a complete copy of the Plaintiff’s entire two

hundred and twenty-seven (227) page medical record to the Defendants, with no resulting

“Deficiency Notice” sent by the Defendants to the Plaintiffs.

       2.      On January 18, 2019, following the global settlement of MDL 2545, as part of their

participation in the Androgel Resolution Program, the Plaintiffs timely and completely submitted

their claim information to the Defendants through the Androgel Settlement Portal, which included

a fully completed Plaintiff Profile Form (“PPF”) executed by the Plaintiff on January 12, 2019.

       3.      On March 2, 2019, undersigned counsel learned that, on February 19, 2019, the

Plaintiffs’ claim was deemed “ineligible,” with the explanation given as “Litigation Status”: {-

>Dismissed}.

       4.      On the same date, after spending hours sorting through hundreds of ECF emails

and underlying pleadings in MDL 2545, undersigned counsel learned, for the first time, the

following:

       a.      On December 8, 2017, this Honorable Court issued Case Management Order
               (“CMO”) No. 85, ordering all Plaintiffs to submit a Supplemental Plaintiff Profile
               Form (“PPF”) (Document #2295);
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       b.     On April 6, 2018, this Honorable Court issued CMO No. 110, Order to Show Cause
              Pursuant to CMO No. 85, ordering certain Plaintiffs to show cause why their
              lawsuits should not be dismissed for failure to comply with CMO No. 85, which
              included the Plaintiffs (Document # 2434);

       c.     On April 6, 2018, this Honorable Court issued a text entry accompanying CMO
              No. 110, stating that “[t]he Plaintiff’s Steering Committee is directed to make best
              efforts to ensure that this order is brought to the attention of counsel in the identified
              cases. (mk).” (emphasis added); and

       d.     On May 11, 2018, this Honorable Court issued CMO No. 118, dismissing one
              hundred and fifty-nine (159) lawsuits with prejudice for failure to comply with
              CMO No. 85, which included the Plaintiffs’ lawsuit (Document # 2612).

       5.     The Plaintiff’s Steering Committee did not contact undersigned counsel at any time

between December 8, 2017 and May 11, 2018.

       Further the affiant say not.



Dated: March 3, 2019                          ____/s/ Cyrus F. Rilee, III______________
                                              Cyrus F. Rilee, III


STATE OF NEW HAMPSHIRE
COUNTY OF HILLSBOROUGH

        Before me, the undersigned officer, personally appeared Cyrus F. Rilee, III, known to me
or satisfactorily proven to be the person whose name is subscribed to the within document, and
made oath that the statements contained therein are true to the best of his knowledge and belief.



Dated: March 3, 2019                          ____/s/ Laurie B. Rilee______________
                                              Justice of the Peace / Notary Public
                                              My commission expires: _06/07/2022______




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